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                            IN THE UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF OHIO
                                      WESTERN DIVISION

Aaron B. Roberts,                                   CASE NO. 1: 17-CV-00779

                                                    Judge Susan J. Dlott
                   Plaintiff,

        vs.

Chris A. Bowen

                   Defendant.


                                   NOTICE OF DEPOSITION



        Please take notice that Defendant Sergeant Chris A. Bowen will take the deposition of

Plaintiff Aaron B. Roberts upon oral examination, under oath, on Friday, November 16th, 2018

beginning at 9:30 A.M. The deposition will be held in the office of Fishel Downey Albrecht &

Riepenhoff LLP, located at 7775 Walton Parkway, Suite 200, New Albany, Ohio 43054. The

deposition will be recorded by stenographic means and continue from day-to-day until

completed.


                                            s/ Mela.rue J. Wil1iamson
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                               CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing was served on October 29, 2018 via email
upon:

        Fredrick M. Gittes - fgittes@gitteslaw.com
        Jeffrey P.Vardaro- Jvardaro@gineslaw.com


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